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               EXHIBIT A
          Case 1:20-cv-00007-CWD Document 1-1 Filed 01/06/20 Page 2 of 6
                                                                             Electronically Filed
                                                                             8/28/2019 4:18 PM
                                                                             Fourth Judicial District, Ada County
                                                                             Phil McGrane, Clerk of the Court
                                                                             By: Katee Hysell, Deputy Clerk
TIM GRESBACK
210 E. 7th Street
P.O. Box 9696
Moscow, ID 83843
Telephone: (208) 882-2222
Fax: (208) 892-3535
Email: tim@moscowattorney.com
I.S.B.N. 3708
                                                                          Reardon (District), Michael J.
Attorney for Plaintiff

          IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF THE
                    STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA


 LINDAROSE CURTIS BRUCE,
 Plaintiff,                                        CASE NO. CV01-19-16010
 v.
                                                   SUMMONS
 THE TJX COMPANIES, INC., a foreign
 corporation, doing business as T.J. MAXX,
 and JOHN DOES I-X,
 Defendants.




NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF. THE COURT MAY
ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER NOTICE UNLESS YOU RESPOND
WITHIN 21 DAYS. READ THE INFORMATION BELOW.

TO:     THE TJX COMPANIES, INC., doing business as T.J. MAXX, through its registered
        agent.

        You are hereby notified that in order to defend this lawsuit, an appropriate written response

must be filed with the above-designated court, Ada County Courthouse, 200 W. Front Street,

Boise, ID 83702, phone number 208-287-7070 within 21 days after service of this Summons on

you. If you fail to so respond the court may enter judgment against you as demanded by the

Plaintiff in the Complaint.




SUMMONS - 1
         Case 1:20-cv-00007-CWD Document 1-1 Filed 01/06/20 Page 3 of 6



       A copy of the Complaint is now served with this Summons. If you wish to seek the advice

or representation by an attorney in this matter, you should do so promptly so that your written

response, if any, may be filed in time and other legal rights protected.

       An appropriate written response requires compliance with Rule 2 and other Idaho Rules

of Civil Procedure and shall also include:

       1. The title and number of this case.

       2. If your response is an Answer to the Complaint, it must contain admissions or denials

of the separate allegations of the Complaint and other defenses you may claim.

       3. Your signature, mailing address and telephone number, or the signature, mailing

address and telephone number of your attorney.

       4. Proof of mailing or delivery of a copy of your response to Plaintiff's attorney, as

designated above.

       To determine whether you must pay a filing fee with your response, contact the Clerk of

the above-named court.

       August ___, 2019.
        8/28/2019 4:18 PM
                                               CLERK OF THE DISTRICT COURT
                                                     PHIL MCGRANE

                                               By:___________________________________
                                                            DEPUTY




SUMMONS - 2
                                                               Electronically Filed
           Case 1:20-cv-00007-CWD Document 1-1 Filed 01/06/20 Page    4 of4:18
                                                               8/28/2019     6 PM
                                                                      Fourth Judicial District, Ada County
                                                                      Phil McGrane, Clerk of the Court
                                                                      By: Katee Hysell, Deputy Clerk


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Attorney for Plaintiff

           IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF THE
                    STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA


 LINDAROSE CURTIS BRUCE,
 Plaintiff,                                   CASE NO. CV01-19-16010
 v.
                                              COMPLAINT
 THE TJX COMPANIES, INC., a foreign
 corporation, doing business as T.J. MAXX,    Fee Category: A
 and JOHN DOES I-X,
                                              Fee: $221.00
 Defendants.




        Plaintiff Lindarose Curtis Bruce (Lindarose), through her attorney Tim Gresback,

alleges:

1.      Lindarose seeks monetary compensation for damages caused by the Defendants’

negligence of maintenance of business property.

2.      The negligence occurred in Ada County, State of Idaho. Lindarose is a resident of

Ada County, State of Idaho.

3.      Defendant The TJX Companies, Inc., a foreign corporation headquartered in

Massachusetts, is doing business as T.J. Maxx in Ada County, State of Idaho. Defendant

The TJX Companies, Inc., is registered as a foreign business corporation with the Idaho


COMPLAINT - 1
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Secretary of State under file number 314403.

4.     Defendant T.J. Maxx is an assumed business name registered with the Idaho

Secretary of State under file numbers 170663, 201852, and 216185.

5.     Defendants John Does, I-X are unidentified individuals who it may be discovered

are legally liable for the injuries and damages suffered by the Plaintiff.

6.     On August 29th, 2017, in Boise, Ada County, Idaho, Plaintiff was visiting T.J. Maxx

to shop, and was thus an invitee to whom the landowner owed the highest duty of care.

7.     This duty required the Defendants to keep the premises reasonably safe and to

warn of dangers of which it knew or should have known.

8.     Defendants did not maintain safe conditions on its property, breaching the duty of

care it owed to Plaintiff, the direct and proximate cause of which caused injury and

damages to Plaintiff in an amount to be proven at trial.

9.     On or about the date and time alleged, there was a slippery substance on the floor

believed to be soap, which had leaked from a bottle.

10.    Defendants did not clean slippery surface from store’s floor, nor did it warn Plaintiff

of the dangerous condition on the property, of which they knew or should have known.

Plaintiff slipped and fell as a result, which resulted in injuries.

11.    Defendants breached this duty of care to Plaintiff and acted negligently in one or

more of the following ways:

       a.     An employee caused the spill, for which she verbally admitted and

              apologized to the Plaintiff.

       b.     An employee knew or should have known of the dangerous surface but

              neglected to maintain safe conditions on the premises, and failed to warn




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          Case 1:20-cv-00007-CWD Document 1-1 Filed 01/06/20 Page 6 of 6



               Plaintiff of the dangerous condition;

       c.      Any other acts and omissions that may later be discovered.

12.    Defendants’ breach of its duty of care constitutes negligence.

13.    Neither Plaintiff nor any other person nor entity was comparatively negligent in this

matter.

14.    Jurisdiction and venue are proper under Idaho law and the doctrine of forum

conveniens.

15.    The court has subject-matter jurisdiction over this action.

16.    This court has personal jurisdiction over Defendant.

17.    The damage caused by Defendants and suffered by Plaintiff includes, but is not

limited to, past and future: lost income, pain, suffering, medical expense, loss of

enjoyment and quality of life, property damage, and physical disfigurement. The damage

will be proven with specificity at trial.

18.    Lindarose seeks judgment against The TJX Companies, Inc., and T.J. Maxx for:

       A.      Damages in excess of ten thousand dollars ($10,000.00) each;

       B.      Costs and interest; and,

       C.      Other relief deemed just.



                                                  August 28th, 2019




                                                  Tim Gresback
                                                  Attorney for Plaintiff




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